                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


Jerpaul D. Spencer,

                              Plaintiff,

v.                                                                   Case No. 16-C-0662

Ed Flynn, Michael Vagnini, Jacob Knight,
Jeffrey Kline [sic] Paul Martinez, Gregory Kuspa,
Jesse Busshardt, Michael Valuch,
and Keith Garland,

                              Defendants.


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE TO USE
               OTHER CASES [sic] DEPOSITIONS


       NOW COMES Defendants Edward Flynn, Michael Vagnini, Jacob Knight,

Jeffrey Cline, Paul Martinez, Gregory Kuspa, Jesse Busshardt, Michael Valuch and Keith

Garland, by their attorney, Grant F. Langley, City Attorney, by Assistant City Attorney

Naomi E. Gehling, and in response to the Plaintiff’s Motion for Leave to Use Other

Cases [sic] Depositions (ECF 90) respond as follows:

                                    BACKGROUND

       This case involves Plaintiff’s claims against numerous MPD officers for illegal

searches and seizures. Plaintiff brings a Monell claim against the City of Milwaukee and

former Chief Edward Flynn alleging a longstanding policy or custom of allowing illegal

searches and seizures. Additionally, Plaintiff brings a claim against former Chief Flynn in

his individual capacity for his own actions or inactions. (ECF 13 at 6).




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       During the discovery process, Plaintiff requested the production of “a copy of any

and all despositions [sic] or statements conducted on any of the defendants in any other

criminal or civil case.” (See ECF 90-1 at 4-5). In response, Defendants objected to the

request as overbroad, unduly burdensome, and irrelevant. Further, Defendants noted that

they were advised that they cannot simply produce copies of any deposition transcripts as

the transcripts remain the property of the court reporter.

                                  LEGAL STANDARD

       Federal Rule of Civil Procedure 26(b)(1), which governs the general scope of

discovery, allows parties to obtain discovery regarding any matter, not privileged, which

is relevant to the claim or defense of any party. The 2015 amendments to Rule 26(b)(1)

expressly reasserted the concept of “proportionality” in Rule 26(b)(1) by adding the

following language to Rule 26(b)(1) requiring that discovery be:

       [P]roportional to the needs of the case, considering the importance of the issues at
       stake in the action, the amount in controversy, the parties’ relative access to
       relevant information, the parties’ resources, the importance of the discovery in
       resolving the issues, and whether the burden or expense of the proposed discovery
       outweighs its likely benefit.

       Further, the comments to the 2015 amendments indicate that the 2015 amendment

of Rule 26(b)(1) adding the above language “restores the proportionality factors to their

original place in defining the scope of discovery. This change reinforces the Rule 26(g)

obligation of the parties to consider these factors in making discovery requests,

responses, or objections.” Fed. R. Civ. P. 26(b)(1), Advisory Committee Notes, 2015

Amendment.

       The Court has broad discretion when deciding whether to compel discovery. See

Patterson v. Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002) (citing Packman v.



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Chi. Tribune Co., 267 F.3d 628, 646–47 (7th Cir. 2001).        Relevancy is “construed

broadly to encompass any matter that bears on, or that reasonably could lead to other

matter that could bear on, any issue that is or may be in the case.” Oppenheimer Fund,

Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380, 57 L. Ed. 2d 253 (1978) (citing

Hickman v. Taylor, 329 U.S. 495, 501, 67 S. Ct. 385, 91 L. Ed. 451 (1947)). A party

objecting to the discovery request bears the burden of showing why the request is

improper. See McGrath v. Everest Nat. Ins. Co., 625 F. Supp. 2d 660, 670 (N.D. Ind.

2008).

                                     DISCUSSION

I.       The Court Already Refused to Order the Production of Deposition
         Transcripts

         In responding to Plaintiff’s discovery request and his supplemental motion for

discovery, Defendants noted that they were advised that they cannot simply produce

copies of any deposition transcripts as the transcripts remain the property of the court

reporter. In it March 7, 2018 Order, this Court appeared to agree with Defendants

position (or mare accurately the court reporter’s position) and refused to order

Defendants to produce copies of Plaintiff’s depositions. Nothing has changed since

March, and Defendants have no more right to produce Gramann Reporting’s property

than they did then. For this reason alone, the Court should deny Plaintiff’s current

motion.

II.      The Federal Rules of Civil Procedure Do Not Support Plaintiff’s Request

         If the Court needs further bases to deny Plaintiff’s motion, Fed. R. Civ. P.

26(b)(3)(c) allows a party to “obtain the person’s own previous statement about the

action or its subject matter.” (Emphasis added.) The requested depositions are not


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Plaintiff’s own statements, and therefore, this rule’s allowance in inapplicable to

Plaintiff’s request. Further, the depositions do not contain any statements about this

action or the specific subject matter of this action.

          Fed. R. Civ. P. 32(a)(8) states that a deposition “may be used in a later action

involving the same subject matter between the same parties, or their representatives or

successors in interest, to the same extent as if taken in the later action.” (Emphasis

added.) The requested depositions are from actions that involve similar but not the same

subject matter and those actions were not between the same parties as Plaintiff was not at

all involved in those actions. As such, F.R.C.P. 32 (a)(8) is inapplicable to the instant

action.

          Finally, the deposition testimony regarding what happened in any of these

previous cases would be inadmissible under Fed. R. Evid. 404(b), as Plaintiff would

simply proffer them for impermissible propensity evidence.            As such, the general

allowance of the use of deposition transcripts by F.R.C.P. 32 is inapplicable in this case.

Therefore, the Court should deny Plaintiff’s motion.


III.      Plaintiff’s Requested Information is Not Discoverable Because the Request is
          Overbroad and Not Proportional to the Needs of This Case.

          Moreover, Plaintiff’s request is overbroad and seeks information that is irrelevant

to this case. Although the scope of discovery is broad, the Seventh Circuit, however, has

often warned that “discovery is not to be used as a fishing expedition.” E.E.O.C. v.

Harvey L. Walner & Associates, 91 F.3d 963, 971–72 (7th Cir. 1996).             Plaintiff has

requested the “depositions of the defendants or other officers” from 11 previous cases.

This includes more than 150 deposition transcripts – more than 30 being from the



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defendant officers. Although Plaintiff will likely say that the requested information

relates to the Monell claim for the City’s alleged policy or practice of illegal searches or

seizures, much of the deposition material relates to the specific searches involved in those

cases; the officers’ relationships with members of the community, including information

on confidential informants, etc.; and other irrelevant/confidential information. Not only

is this information irrelevant to his Monell claim, it cannot be used against the individual

defendants for their conduct in this action. Moreover, most, if not all, of them are subject

to protective orders limiting their access to the parties involved in those actions. Plaintiff

would need to seek relief from all of those orders before he could have access to these

transcripts.    Additionally, entry into a protective order with Plaintiff will likely not

actually provide the protection needed as he is unable to ensure that they will remain

confidential in the prison setting (where some of those people mentioned or affected by

the information given by those named may be housed alongside the Plaintiff).

        Additionally, Plaintiff’s requested information is not discoverable because it fails

the proportionality requirement imposed by Federal Rule of Civil Procedure 26(b)(1).

The central issues in this case are Plaintiff’s claims for unconstitutional searches and

seizures and the Monell claim that the City’s alleged unconstitutional policies, customs,

or practices caused those injuries. (See ECF 13 at 6). Defendants have already produced

the case files for each of the individual named officers and former officers. As a result,

the specific information contained in the requested depositions is related to the previous

and completely uninvolved cases, and is not discoverable. Further, as mentioned above,

Plaintiff’s request is not proportional because it extends well beyond the specific issues

of this case.     Plaintiff’s request is essentially a fishing expedition to discover any



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instances of MPD misconduct that bear little relevance to the specific issues of this case.

Finally, Plaintiff’s request is not proportional because the burden of producing more than

150 transcripts outweighs its very minimal benefit.

        For the foregoing reasons, Defendants respectfully request that this Court deny

Plaintiff’s Motion for Leave to Use Other Cases [sic] Depositions (ECF 90). Defendants

do not intend to submit a supporting memorandum regarding their response to this

motion.


        Dated and signed at Milwaukee, Wisconsin this 22nd day of August, 2018.

                                                      GRANT F. LANGLEY
                                                      City Attorney


                                                      s/Naomi E, Gehling
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